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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                TERRE HAUTE DIVISION

 ________________________________________________
                                                        )
 PATRICK R. SMITH and BRANDON S. HOLM,                  )
 individually and on behalf of all others similarly     )
 situated,                                              )
                                                        )
         Plaintiffs,                                    )
                                                        )
 v.                                                     )             No. 2:20-cv-630-JMS-DLP
                                                        )
 JEFFREY A. ROSEN, in his official capacity as the      )
 Acting Attorney General of the United States; MICHAEL )
 CARVAJAL, in his official capacity as the Director     )
 of the Federal Bureau of Prisons; and T. J. WATSON, in )
 his official capacity as Complex Warden for the Terre  )
 Haute Federal Correctional Complex,                    )
                                                        )
         Defendants.                                    )
 ________________________________________________)

  REPLY BRIEF IN SUPPORT OF PLAINTIFFS’ EMERGENCY MOTION REQUIRING
     DEFENDANTS TO SHOW CAUSE WHY THEY SHOULD NOT BE HELD IN
    CONTEMPT FOR VIOLATING THE COURT’S PRELIMINARY INJUNCTION
                                ORDER

          With the same cavalier attitude they have exhibited throughout this litigation, Defendants

 do not dispute that executioners in the room with Corey Johnson failed to fully comply with the
 Court’s preliminary injunction Order. Instead, they blame the Court for not being clearer in its

 preliminary injunction Order, and Plaintiffs for not seeking clarification of that Order.

 Defendants’ Response to Court’s Order to Show Cause at 1. They submit two declarations that

 say nothing beyond, “my understanding is consistent with what Mr. Winter says in his

 declaration,” from Mr. Watson and Carvajal, and a declaration from Mr. Winter (an attorney for

 the BOP) that is flatly contradicted by Mr. Breeden’s declaration (just as his earlier declaration in

 this litigation was flatly contradicted by the sworn testimony of Orlando Hall’s spiritual advisor




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 about his experience in the death chamber). Unlike Mr. Breeden, Mr. Winter was not in the

 execution chamber.

          Defendants suggest that the violations of the Court’s Order were brief and necessary to

 their ability to carry on the executions. Apart from being contradicted as a factual matter regarding

 how long the violation lasted, there is no reason those two individuals could not perform their jobs

 wearing masks -- as thousands of people do every day.

          At some point, Defendants need to be held accountable for their actions. They cannot

 continue to hide behind a purported need to perform prison-related functions without interference

 while ignoring an unambiguous Order from this Court and Plaintiffs’ rights under the Eighth

 Amendment to the Constitution. As Plaintiffs feared, they apparently had no real intention of

 complying with the Court’s injunction, despite assuring the Court they would comply with the

 injunction and expressing no confusion about what was expected of them or suggesting that there

 might be instances where they need to vary from the directive.

          Plaintiffs therefore renew their request that the Court take one of the following actions:

          1. Barring any future executions at FCC Terre Haute in light of Defendants’ non-

               compliance with the Court’s preliminary injunction, pending a ruling by the Court on

               this show-cause motion; and/or

          2. Entering an order precluding the executioners who violated the Court’s mask

               requirement from participating in the execution scheduled for January 15, 2021 and

               any other executions in the next 60 days.


 Dated: January 15, 2021                        Respectfully submitted,

                                                /s/ Robert A. Burgoyne _________

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on January 15, 2021, a copy of the foregoing document was filed

 electronically. Service of this filing will be made on all ECF-registered counsel by operation of

 the court's electronic filing system.

                                             Respectfully submitted,

                                             /s/ Robert A. Burgoyne
                                             Robert A. Burgoyne




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